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                                          UNITED STATES DISTRICT COURT
                                           FOR THE DISTRICT OF KANSAS

UNITED STATES OF AMERICA,                                    )
                                                             )
                                          Plaintiff,         )
                                                             )
vs.                                                          )       Case No. 10-8214-02-JPO
                                                             )
EDWARD CARVIN,                                               )
                                                             )
                                          Defendant.         )


                                                   DETENTION ORDER

A.         Order for Detention.

      After conducting a detention hearing pursuant to 18 U.S.C. § 3142(f) on November
10, 2010, the undersigned U.S. Magistrate Judge, James P. O’Hara, hereby orders the
defendant, EDWARD CARVIN, detained pursuant to 18 U.S.C. §§ 3142(e) & (i).

B.         Statement of Reasons for Detention.

           As the ultimate reasons for detaining defendant, the court finds:

      : by a preponderance of the evidence, that no condition or combination of conditions
        will reasonably assure the appearance of defendant as required, i.e., defendant poses
        a serious flight risk (at least in the sense of not being reasonable to supervision).

      : by clear and convincing evidence, that no condition or combination of conditions will
        reasonably assure the safety of any other person or the community.

      : specifically, and without limitation of the foregoing, defendant poses a serious risk
        of unlawful possession of firearms.

C.         Findings of Fact.

       The court’s findings in connection with the decision to detain defendant are based on
the evidence presented during the detention hearing, and information contained in the pretrial
services report, including the following:

      : (1)            Nature and circumstances of the offense charged in the present case:

           : (a)             The offense: Title 18 U.S.C. § 922 - Felon in possession of a firearm .
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           : (b)             The offense is a crime of violence.
           : (c)             The offense involves a firearm.

     : (2)             The record indicates the Government has a reasonably strong case against
                       defendant.

     : (3)             The history and characteristics of defendant, including:

                 (a)         General factors:

                       : Defendant has a history relating to drug abuse.
                       : Defendant has a significant prior criminal record (2003 conviction for
                         possession with intent to distribute “crack” cocaine).

                 (b)         At the time of the current arrest, defendant was on supervised release in
                             this court.

                 (c)         Other factors:

                       : Other: Apparent evidence of recent drug trafficking .

     : (4)             The threat of continued unlawful possession of firearms if defendant were
                       released poses a serious risk of danger to the community.

D.         Additional Directives.

       Pursuant to 18 U.S.C. §§ 3142(i)(2)-(4), the court directs defendant be committed to
the custody of the Attorney General for confinement in a corrections facility separate, to the
extent practicable, from persons awaiting or serving sentences or being held in custody
pending appeal. Defendant shall be afforded reasonable opportunity for private consultation
with counsel of record in this case. On order of a court of the United States, or on request
of any attorney for the Government, the person in charge of the corrections facility in which
defendant is confined shall deliver defendant to a United States Marshal for the purpose of
an appearance in connection with a court proceeding.


Dated:         November 10, 2010                           s/ James P. O’Hara
                                                         James P. O’Hara
                                                         U.S. Magistrate Judge




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